                                       Case 3:20-cv-08103-WHA Document 343 Filed 05/17/22 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   MASTEROBJECTS, INC.,
                                  11                   Plaintiff,                            No. C 20-08103 WHA

                                  12              v.
Northern District of California
 United States District Court




                                  13   AMAZON.COM, INC,                                      ORDER RE DISQUALIFICATION
                                                                                             MOTION AND UNCLEAN HANDS
                                  14                   Defendant.                            MOTION
                                  15

                                  16

                                  17        The Court has received and reviewed the submission from MasterObjects, Inc. (Dkt. No.

                                  18   342). Before deciding whether to hold an evidentiary hearing or whether any discovery from

                                  19   Hueston Hennigan is warranted, MasterObjects must subpoena Fliesler Meyer (or its

                                  20   successor) for all time notes of Scott Sanford, or at least all such time notes that make

                                  21   reference to MasterObjects or any of the patents at issue or their parents or their inventors.

                                  22   This document description can be enlarged slightly to capture any other time notes that would

                                  23   show Sanford had been “exposed” to matters now in litigation within the meaning of Adams v.

                                  24   Aerojet-Gen Corp., 86 Cal. App. 4th 1324, 1340 (2001), but no further enlargement will be

                                  25   allowed.

                                  26        The Court expresses some disappointment that MasterObjects as the moving party has

                                  27   not already attempted to obtain these records, which the Court previously noted would prove

                                  28   helpful in the hearing on this issue (Apr. 6 Hrg. Tr. 46–47, Dkt. No. 326). MasterObjects will
                                       Case 3:20-cv-08103-WHA Document 343 Filed 05/17/22 Page 2 of 2




                                   1   be given one last opportunity to obtain these records by subpoena served no later than FRIDAY

                                   2   AT NOON   with a return date FOURTEEN DAYS thereafter.

                                   3        For the time being, it is unnecessary for Amazon to reply to the submission made by

                                   4   MasterObjects last night.

                                   5        Turning to Amazon’s unclean hands motion and the further discovery ordered by Special

                                   6   Master McElhinny, any sur-reply by Amazon, limited to FIVE PAGES, not including exhibits

                                   7   and declarations, must be filed by FRIDAY AT NOON.

                                   8        IT IS SO ORDERED.

                                   9

                                  10   Dated: May 17, 2022.

                                  11

                                  12
Northern District of California
 United States District Court




                                                                                            WILLIAM ALSUP
                                  13                                                        UNITED STATES DISTRICT JUDGE
                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                     2
